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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC_ and ABILIO
JAMES ACOSTA,

Plaintiffs,
v.

DONALD J_ TRUMP, in his official capacity as
President of the United States; JOHN F_ KELLY, in
his official capacity as Chief of Staff to the President
of the United States; WILLIAM SHINE, in his
official capacity as Deputy Chief of Staff to the Case No. 1218-cv-02610
President of the United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press Secretary
to the President of the United States; the UNITED
STATES SECRET SERVICE; RANDOLPH ALLES,
in his official capacity as Director of the United
States Secret Service; and JOHN DOE, Secret
Service Agent, in his official capacity,

Defendants.

 

 

 

PLAINTIFFS’ STATUS REPORT AND REQUEST FOR AN
EMERGENCY BRIEFING SCHEDULE AND HEARING ON PLAINTIFFS’ MOTION
FOR A PRELIMINARY INJUNCTION

 

Plaintiffs Cable News Network, Inc. (“CNN”) and J ames Abilio Acosta respectfully
submit this status report on the underlying matter. Ex. 57 at 17:7-10_

Following this Court’s TRO decision, Plaintiffs offered to resolve this dispute amicably
by Working With Defendants and the White House Correspondents’ Association to establish
protocols for White House press conferences on a going forward basis. Defendants did not

respond to this offer to cooperate; instead, after 9 p.rn. on Friday, just hours after this Court’s

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order requiring the restoration of Acosta’s White House press pass, Defendants Sarah Huckabee
Sanders and William Shine sent the attached letter, stating, among other things, that they had
made the “preliminary decision to suspend [Acosta’s] hard pass due to [his] conduct at the
President’s November 7, 2018 press conference.” EX. 58 at l. They demanded a response by
5:00 p.m. on Sunday and arbitrarily set a deadline of 3:00 p.m. Monday for their determination
as to Whether the “preliminary decision” becomes “final.” Ex_ 58 at l.

In response, as set forth in the attached letter, Plaintiffs objected to Defendant’s attempt
to provide retroactive due process, and have requested that Defendants refrain from _ yet again
_ violating the constitutional rights of CNN and Acosta. EX. 59.

Plaintiffs remain hopeful that the parties can resolve this dispute Without further court
intervention. But in light of Defendants’ stated intentions, Plaintiffs respectfully request that the
Court enter an order requiring Defendants to file their opposition to Plaintiffs’ motion for a
preliminary injunction on Tuesday, November 20, 2018, as required by Local Rule 65.l(c), With
Plaintiffs’ reply due Tuesday, November 27, 2018, or according to an expedited schedule the
Court deems appropriate. Plaintiffs further request that the Court schedule a hearing on the
motion for the Week of November 26, 2018, or as soon thereafter as possible. Finally, Plaintiffs
respectfully suggest, in response to the Court’s inquiry, that briefing on the merits and the
preliminary injunction should not be combined, as discovery may be necessary to resolve

Plaintiffs’ claims.

Dated: November 19, 2018 Respectfully submitted,
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Theodore J. Boutrous, Jr., (D.C. Bar No.
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C0unself0r Plaintiffs Cable News Nelwork, Inc.
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